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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

GARY COTZIN

v.                                      CASE NO. 3:14 CV 1695 (VLB)
PAUL LEWIS OTZEL
MILFORD LAW, LLC



                               NOTICE OF DISMISSAL

      Pursuant to Rule 4l(a)(l), plaintiff hereby dismisses the within action,

without costs or fees based on the parties’ settlement agreement.

                                               THE PLAINTIFF




                                               BY_____/s/ Joanne S. Faulkner__
                                               JOANNE S. FAULKNER ct04137
                                               123 Avon Street
                                               New Haven, CT 06511-2422
                                               (203) 772-0395

      Certificate of Service

        I hereby certify that on December 3, 2014, a copy of foregoing Notice of
Dismissal was filed electronically. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system. Parties may access
this filing through the Court’s system.




                                        ____/s/ Joanne S. Faulkner___
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